8:05-cr-00116-LSC-TDT       Doc # 207   Filed: 09/19/06   Page 1 of 1 - Page ID # 938




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )             CASE NO. 8:05CR116
                                         )
                    Plaintiff,           )
                                         )
             v.                          )                  JUDGMENT
                                         )
ROBERT MCFARLAND,                        )
                                         )
                    Defendant.           )

      Pursuant to the Memorandum and Order entered on this date, judgment is entered

in favor of the government and against the defendant. The defendant’s Motion Under 28

U.S.C. § 2255 to vacate is dismissed.


      DATED this 19th day of September, 2006.

                                        BY THE COURT:

                                        s/Laurie Smith Camp
                                        United States District Judge
